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  1 JACK P. DICANIO (SBN 138782)
    jack.dicanio@skadden.com
  2 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
    300 South Grand Avenue, Suite 3400
  3 Los Angeles, California 90071
    Telephone: (213) 687-5000
  4 Facsimile: (213) 687-5600
  5 Attorneys for Defendants
    NATIONAL HOCKEY LEAGUE,
  6 NHL ENTERPRISES, LP AND
    NATIONAL HOCKEY LEAGUE BOARD OF GOVERNORS
  7
    [Additional Counsel Listed in Signature Block]
  8
  9                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11 KELLI EWEN, Individually, and as           CASE NO.: 2:19-cv-03656 FMO (GJSx)
 12 Personal Representative of the Estate of   NOTICE OF JOINT MOTION,
    TODD EWEN, Deceased,                       MOTION AND MEMORANDUM
 13                                            OF POINTS AND AUTHORITIES
                                               IN SUPPORT OF JOINT MOTION
 14                   Plaintiff,               FOR RELIEF FROM ORDER
                                               SETTING SUMMARY
 15              v.                            JUDGMENT REQUIREMENTS
 16
      NATIONAL HOCKEY LEAGUE, et al.,          Date: March 19, 2021
 17
                                               Time: 8:30 AM
 18                    Defendants.             Courtroom: 6C
                                               Judge: Hon. Stanley Blumenfeld Jr.
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                             JOINT MOTION FOR RELIEF
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  1                       NOTICE OF MOTION AND MOTION
  2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  3        PLEASE TAKE NOTICE that on March 19, 2021, or as soon thereafter as the
  4 matter may be heard before the Honorable Stanley Blumenfeld Jr. in Courtroom 6C
  5 of the above-entitled Court, located at First Street Courthouse, 350 W. 1st Street, 6th
  6 Floor, Los Angeles, California 90012, Defendants National Hockey League, NHL
  7 Enterprises, LP, and the National Hockey League Board of Governors and Plaintiff
  8 will jointly move the Court for relief from the Judge Olguin’s Order Re: Summary
  9 Judgment Motions (ECF No. 40).
 10        This joint motion is based upon this Notice of Motion and Motion, the
 11 accompanying Memorandum of Points and Authorities, the Declaration of Matthew
 12 Martino, any oral argument heard by the Court, and such other matters as the Court
 13 may consider.
 14
 15 /s/ Brian C. Gudmundson                        /s/Jack P. DiCanio
    ZIMMERMAN REED LLP                             JACK P. DICANIO (SBN 138782)
 16 Brian C. Gudmundson (pro hac vice)             jack.dicanio@skadden.com
    brian.gudmundson@zimmreed.com                  SKADDEN, ARPS, SLATE,
 17 Michael J. Laird (pro hac vice)                  MEAGHER & FLOM LLP
    michael.laird@zimmreed.com                     300 South Grand Avenue, Suite 3400
 18 80 S 8th Street, Suite 1100                    Los Angeles, California 90071
    Minneapolis, MN 55402                          Telephone: (213) 687-5000
 19 Tel (612) 341-0400                             Facsimile: (213) 687-5600
    Fax (612) 341-0844
 20                                                JOHN H. BEISNER (SBN 81571)
    ZIMMERMAN REED LLP                             john.beisner@skadden.com
 21 Christopher P. Ridout (SBN 143931)             SKADDEN, ARPS, SLATE,
    christopher.ridout@zimmreed.com                 MEAGHER & FLOM LLP
 22 2381 Rosecrans Ave., Suite 328                 1440 New York Avenue, N.W.
    Manhattan Beach, CA 90245                      Washington, D.C. 20005-2111
 23 Tel (877) 500-8780                             Telephone: (202) 371-7000
    Fax (877) 500-8781
 24                                                SHEPARD GOLDFEIN
    O’MARA LAW GROUP                               (admitted pro hac vice)
 25 Mark M. O’Mara (pro hac vice)                  shepard.goldfein@skadden.com
    mark@omaralawgroup.com                         MATTHEW M. MARTINO
 26 221 NE Ivanhoe Blvd., Suite 200                (admitted pro hac vice)
    Orlando, FL 32804                              matthew.martino@skadden.com
 27 Tel (407) 898-5151                             MICHAEL H. MENITOVE
                                                   (admitted pro hac vice)
 28
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                              JOINT MOTION FOR RELIEF
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  1 Fax (407) 898-2468                        michael.menitove@skadden.com
                                              SKADDEN, ARPS, SLATE,
  2 Attorneys for Plaintiff                    MEAGHER & FLOM LLP
    KELLI EWEN                                One Manhattan West
  3                                           New York, New York 10001
                                              Telephone: (212) 735-3000
  4
                                              JOSEPH BAUMGARTEN
  5                                           (admitted pro hac vice)
                                              jbaumgarten@proskauer.com
  6                                           ADAM M. LUPION (admitted pro
                                              hac vice)
  7                                           alupion@proskauer.com
                                              PROSKAUER ROSE LLP
  8                                           Eleven Times Square
                                              New York, New York 10036-8299
  9                                           Telephone: (212) 969-3000
 10                                           Attorneys for Defendants
                                              NATIONAL HOCKEY LEAGUE,
 11                                           NHL ENTERPRISES, LP AND
                                              NATIONAL HOCKEY
 12                                           LEAGUE BOARD OF
                                              GOVERNORS
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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2        Defendants, the National Hockey League, NHL Enterprises, LP, and the
  3 National Hockey League Board of Governors (collectively, “Defendants” or the
  4 “NHL”) and Plaintiff Kelli Ewen (together with Defendants, the “Parties”), jointly
  5 move for relief from Judge Olguin’s Order Re: Summary Judgment Motions (ECF
  6 No. 40) (“Summary Judgment Order”) as incorporated into the Court’s October 13,
  7 2020 Order on Joint Motion to Extend Discovery and Case Management Deadlines
  8 (ECF No. 106) (“Discovery Order”), and ask the Court to vacate the Summary
  9 Judgment Order and order the briefing schedule set forth below, or, in the
 10 alternative, to modify the Summary Judgment Order to require initial disclosure of
 11 the moving party’s portion of the joint brief on March 26, 2021.
 12        Relief from an order setting a briefing schedule is warranted upon a showing
 13 of good cause. See Griffin v. Johnson, No. 13-cv-01599-LJO-BAM(PC), 2017 WL
 14 1207883, at *1 (E.D. Cal. Mar. 3, 2017) (finding “good cause to modify the briefing
 15 schedule in this matter”); Californians for Alternatives to Toxics v. U.S. Fish &
 16 Wildlife Serv., No. 10-cv-1477-FCD-CMK, 2011 WL 838957, at *4 (E.D. Cal. Mar.
 17 3, 2011) (same). The “good cause” standard “primarily considers the diligence of
 18 the party seeking the amendment.” Johnson v. Mammoth Recreations, Inc., 975 F.2d
 19 604, 609 (9th Cir. 1992). In addition, good cause is supported when the requested
 20 relief will facilitate efficient case management. See C.F. v. Capistrano Unified Sch.
 21 Dist., 656 F. Supp. 2d 1190, 1197 (C.D. Cal. 2009) (finding good cause when the
 22 requested relief imposed “no meaningful case management issues nor has it infringed
 23 on the efficient adjudication of the action”).
 24       Here, there is good cause for the Parties’ requested relief because expert
 25 discovery is ongoing and will continue until the current February 26 expert discovery
 26 deadline, and the Summary Judgment Order would result in critical expert discovery
 27 occurring after much of the summary judgment briefing process must be completed.
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  1 Such a result has become extremely onerous and impracticable given the extensive
  2 number of experts and the need to use the entire expert period allotted under the case
  3 management order. The Summary Judgment Order requires the Parties to meet and
  4 confer regarding summary judgment arguments 35 days in advance of filing a joint
  5 brief on March 26, 2021, the due date set forth in the Discovery Order. (See ECF
  6 Nos. 40, 106.) Seven days after that meet-and-confer, either party wishing to move
  7 for summary judgment must send its portion of the joint brief to the opposing party.
  8 (ECF No. 40.) As a result, the Parties are obligated to meet-and-confer by February
  9 19—one week prior to the close of expert discovery—and the moving party must
 10 provide its portion of the summary judgment brief to opposing counsel by February
 11 26—the same day that expert discovery closes.
 12        While the Parties have diligently engaged in expert discovery throughout the
 13 scheduled period, expert discovery in the case has been extensive as set forth in
 14 greater detail in the Declaration of Matthew Martino (“Martino Decl.”). On
 15 December 28, 2020, Plaintiffs disclosed and submitted reports from six experts, and
 16 Defendants also disclosed and submitted reports from six experts. (Id. ¶ 1.) Several
 17 of the Parties’ experts had lengthy reliance lists and/or relied on modeling that
 18 required the production and review of numerous documents and underlying data and
 19 video files. (Id. ¶¶ 2, 4, 7, 8, 12 ,14.) Amended reports for two of Plaintiffs’ experts
 20 were served on January 14 and 15. (Id. ¶¶ 5-6.) The parties met and conferred
 21 extensively via phone and over email regarding the scope and timing of production
 22 of experts’ reliance materials and deposition scheduling, including on the following
 23 dates: January 5, January 18, January 22, January 25, January 28, January 29,
 24 February 1, February 8, and February 16. (Id. ¶¶ 3, 8, 9, 12, 14-18, 23.) On
 25 February 2, 2021, Plaintiff served one rebuttal report, and Defendants served five
 26 rebuttal reports. (Id. ¶ 19.) On February 3, Defendants served an amended expert
 27 rebuttal report. (Id. ¶ 20.) Depositions were promptly scheduled following these
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  1 disclosures and were conducted on January 19, January 20, and January 25. (Id. ¶¶
  2 10, 11, 13.)
  3        Expert discovery will also continue over at least the next two weeks.
  4 Defendants are deposing one of Plaintiff’s experts this week, on February 18, after
  5 which Defendants will prepare and serve rebuttal reports. (Id. ¶ 24.) And
  6 Defendants are deposing another one of Plaintiff’s rebuttal experts on February 23.
  7 (Id. ¶ 25.) Moreover, there is an outstanding dispute between the Parties as to
  8 whether the NHL is entitled to depositions of two other experts disclosed by Plaintiff
  9 who submitted the same expert reports they submitted in the prior multi-district
 10 litigation against the NHL regarding concussions and whom Defendants previously
 11 deposed on those reports. (Id. ¶¶ 21-23.)
 12        This extensive (and ongoing) expert discovery will be central to the Parties’
 13 summary judgment arguments, including through Daubert motions pertaining to
 14 certain experts. As a result, the Parties believe the current briefing schedule is
 15 unworkable because it will result in significant overlap between expert discovery and
 16 summary judgment briefing. The Parties reached this conclusion during a meet-and
 17 confer-on February 16 and promptly brought the present motion. The Parties request
 18 that they be permitted to brief summary judgment motions pursuant to a more typical
 19 schedule and procedure that will allow for the completion of expert discovery prior
 20 to extensive work on summary judgment arguments. Specifically, the Parties
 21 propose the following summary judgment briefing schedule:
 22
 23                          Event                             Date
 24          Motion for Summary Judgment and           March 26, 2021
             Memorandum in Support Filed
 25
             Opposition to Motion for Summary          April 16, 2021
 26          Judgment Filed
 27          Reply in Support of Motion for            April 23, 2021
             Summary Judgment Filed
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                               JOINT MOTION FOR RELIEF
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  1 No other dates or deadline in the Discovery Order would be impacted by this
  2 proposed briefing scheduled.
  3        In the alternative, if the Court prefers to maintain the joint briefing procedure,
  4 the Parties request that the Court modify the Summary Judgment Order to require the
  5 moving party to share its portion of the joint brief on March 26, 2021 and file the
  6 completed joint summary judgment briefing before April 23, 2021.
  7
  8 Date: February 18, 2021                        Respectfully submitted,
  9
 10 /s/ Brian C. Gudmundson                       /s/ Jack P. DiCanio
 11 Brian C. Gudmundson (pro hac vice)            JACK P. DICANIO (SBN 138782)
    brian.gudmundson@zimmreed.com                 jack.dicanio@skadden.com
 12 Michael J. Laird (pro hac vice)               SKADDEN, ARPS, SLATE,
    michael.laird@zimmreed.com                      MEAGHER & FLOM LLP
 13 ZIMMERMAN REED LLP                            300 South Grand Avenue, Suite 3400
    80 S 8th Street, Suite 1100                   Los Angeles, California 90071
 14 Minneapolis, MN 55402                         Telephone: (213) 687-5000
    Tel (612) 341-0400                            Facsimile: (213) 687-5600
 15 Fax (612) 341-0844
                                                  JOHN H. BEISNER (SBN 81571)
 16 Christopher P. Ridout (SBN 143931)            john.beisner@skadden.com
    christopher.ridout@zimmreed.com               SKADDEN, ARPS, SLATE,
 17 ZIMMERMAN REED LLP                             MEAGHER & FLOM LLP
    2381 Rosecrans Ave., Suite 328                1440 New York Avenue, N.W.
 18 Manhattan Beach, CA 90245                     Washington, D.C. 20005-2111
    Tel (877) 500-8780                            Telephone: (202) 371-7000
 19 Fax (877) 500-8781
                                                  SHEPARD GOLDFEIN (admitted pro
 20 Mark M. O’Mara (pro hac vice)                 hac vice)
    mark@omaralawgroup.com                        shepard.goldfein@skadden.com
 21 O’MARA LAW GROUP                              MATTHEW M. MARTINO (admitted
    221 NE Ivanhoe Blvd., Suite 200               pro hac vice)
 22 Orlando, FL 32804                             matthew.martino@skadden.com
    Tel (407) 898-5151                            MICHAEL H. MENITOVE
 23 Fax (407) 898-2468                            (admitted pro hac vice)
                                                  michael.menitove@skadden.com
 24 Attorneys for Plaintiff                       SKADDEN, ARPS, SLATE,
    KELLI EWEN                                     MEAGHER & FLOM LLP
 25                                               One Manhattan West
                                                  New York, New York 10001
 26                                               Telephone: (212) 735-3000
 27                                               JOSEPH BAUMGARTEN (admitted pro
                                                  hac vice)
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                              JOINT MOTION FOR RELIEF
Case 2:19-cv-03656-SB-GJS Document 160 Filed 02/18/21 Page 8 of 8 Page ID #:3213



  1                                             jbaumgarten@proskauer.com
                                                ADAM M. LUPION (admitted pro hac
  2                                             vice)
                                                alupion@proskauer.com
  3                                             PROSKAUER ROSE LLP
                                                Eleven Times Square
  4                                             New York, New York 10036-8299
                                                Telephone: (212) 969-3000
  5
                                                Attorneys for Defendants
  6                                             NATIONAL HOCKEY LEAGUE,
                                                NHL ENTERPRISES, LP AND
  7                                             NATIONAL HOCKEY LEAGUE
                                                BOARD OF GOVERNORS
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 10                            ATTORNEY ATTESTATION
 11        I, Jack P. DiCanio, am the ECF User whose ID and password are being used to
 12 file the Joint Motion to Extend Discovery and Case Management Deadlines. In
 13 compliance with C.D. Cal. L.R. 5-4.3.4(a)(2)(i), I hereby attest that the concurrence
 14 in the filing of the document has been obtained from the other signatory.
 15                                                     s/ Jack P. DiCanio
                                                        Jack P. DiCanio
 16                                                     Attorney for Defendants
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                              JOINT MOTION FOR RELIEF
